331 F.2d 851
    Sirijo TANFARA, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Dominick F. Rinaldi,District Director, H. S. Klegman, Ass't. DistrictDirector for Deportation, Respondents.
    No. 14644.
    United States Court of Appeals Third Circuit.
    Argued May 18, 1964.Decided May 26, 1964.
    
      Stephen Mongiello, Hoboken, N.J., for petitioner.
      Merna Marshall, Asst. U.S. Atty., Philadelphia, Pa.  (Drew J. O'Keefe, U.S. Atty., Maurice A. Roberts, Atty., Dept. of Justice, Washington, D.C., of counsel, on the brief), for respondents.
      Before HASTIE, GANEY and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this case we have reviewed an order of the Board of Immigration Appeals which affirmed a decision of a special inquiry officer of the Immigration &amp; Naturalization Service, finding that the petitioner Tanfara was a deportable alien and ineligible for any form of discretionary relief from deportation.  We have examined the record in the light of the controlling statutes and are satisfied that the administrative decision was correct.
    
    
      2
      The order of the Board will be affirmed.
    
    